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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


       BABY DOE et al.,

                      Plaintiffs,
                                                             Civil Action No. 3:22-cv-49
       v.

       MAST et al.,

                      Defendants.


                                     [proposed] ORDER

            Having considered Defendant Richard Mast’s Motion for Order Directing Clerk to

      Request Information Held by a Virginia Circuit Court [ECF 174], the Court hereby

      DENIES the motion.

      ______, 2023                             ___________________________
                                               The Honorable Norman K. Moon
                                               United States District Judge
